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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

 LONE STAR TECHNOLOGICAL                         §
 INNOVATIONS, LLC,                               §
                                                 §    CIVIL ACTION NO. 6:19-CV-00059-RWS
                                                 §
                Plaintiff,                       §
                                                 §                     LEAD CASE
 v.                                              §
                                                 §
 ASUSTEK COMPUTER INC.,                          §
                                                 §
                Defendant.                       §

                                            ORDER
      . Before the Court is Plaintiff Lone Star Technological Innovations, LLC’s (“Lone Star”)

Unopposed Motion for Extension of Time to Respond to Barco N.V.’s (“Barco”) Motion to

Exclude (Docket No. 155). Because the motion is unopposed, the Court is of the opinion it should

be GRANTED. It is therefore

        ORDERED that the deadline for Lone Star to respond to Barco’s Motion to Exclude

(Docket No. 151) is extended to December 9, 2020. In addition, Barco’s deadline for filing a reply

in support of its motion is extended to December 16, 2020.

        So ORDERED and SIGNED this 7th day of December, 2020.




                                                         ____________________________________
                                                         ROBERT W. SCHROEDER III
                                                         UNITED STATES DISTRICT JUDGE
